AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action

UNITED STATES DISTRICT COURT

for the
Eastern District of North Carolina

 

 

JASON WILLIAMS
Plaintiff

Vv.

Civil Action No. 4:19-cv-00153

AT&T MOBILITY, LLC
Defendant

SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

Convergys Customer Management Group Inc. n/k/a Concentrix Corporation
To: 201 East Fourth Street

— Cincinnati, OH 45202

(Name of person to whom this subpoena is directed)

4 Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following

documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:

 

See Schedule A.
Place: Veritext | Date and Time: October 9, 2020
| 334 S Main St. 10 a.m.
Dayton, OH, 45402 __

 

© Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 

Place: : Date and Time: |

|
|
|

The following provisions of Fed. R. Civ. P. 45 are attached — Rule 45(c), relating to the place of compliance;

Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date: 9/3/2020
OR : .
— YL XE.

Signature of Clerk or Deputy Clerk Attorney’s signature

CLERK OF COURT

 

The name, address, e-mail address, and telephone number of the attorney representing (name of party) Jason Williams

 

_ , who issues or requests this subpoena, are:
Christopher LaVigne, Withers Bergman LLP, 430 Park Avenue, New York, NY 10022, Christopher.LaVigne@withersworldwide.com, (212) 848-9800

Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).

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Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

| received this subpoena for (name of individual and title, if any) CeMxsVe ROYS oe YU SS apntle i nha
on (date) Fe Y- Ho : Gpheoefe wre MK Coleg fle1K

C1 I served the subpoena by delivering a copy to the named person as follows: Vala ceffeed, Soon

) OHH; Fee Sehebex - Agen} Ruther ized to Acce p}

on (date) ~-~S HO or

 

 

 

© I returned the subpoena unexecuted because:

 

 

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of

$

 

My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date: ee wo

 

 

Server’s signature

Lo hte CORAL. LROCESS See

Printed name and title

ON TiVIE ATTOS SERVICES LLP
P.O. BOX 262
DAYTON, Ob¢brsidduress

Additional information regarding attempted service, etc.:

 

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